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 7                             UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
 9                                     SAN JOSE DIVISION
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11 OSCAR LIZARRAGA-DAVIS,                              Case No. 5:18-cv-04081 BLF
12               Plaintiff,                            NOTICE AND ORDER SETTING
                                                       SETTLEMENT CONFERENCE
13         v.
                                                       Re: Dkt. No. 76
14 TRANSWORLD SYSTEMS, INC.,
15               Defendants.
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17         This case was referred to this Court by the Honorable Beth Labson Freeman for a
18 settlement conference. The conference will be held on September 30, 2022, at 9:30 a.m.
19 This proceeding will be held via Zoom meeting. If a party is unable to participate in the
20 conference on this date, that party must meet and confer with opposing counsel to find
21 another date on which all parties are available and then contact courtroom deputy Lili
22 Harrell as soon as possible at Lili_Harrell@cand.uscourts.gov, or 408.535.5343. Please see
23 this Court’s Settlement Conference Standing order for more information.
24         IT IS SO
25         ORDERED. Date:                          _________________________
                                                    Nathanael M. Cousins
26         July 20, 2022                            United States Magistrate Judge
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     Case No. 18-cv-04081 BLF (NC)
     SETTLEMENT CONFERENCE
     ORDER
